Case 2:07-md-01873-KDE-MBN Document 13237 Filed 04/07/10 Page 1 of 1
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Effective 4/10/06 FINANCIAL & CIVIL ALLOTMENT SHEET Receipt No.: ISgsod

Deputy Clerk:

ACCOUNT CODE: REGISTRY FUND: APR own 7 2010

6855XX Accounts 604700 Accounts
- Restitution - Cash Bonds
- U.S. Postal Service Forms - Land Condemnation
- Petty Offense - Deceased & Deserting Seaman

GENERAL & SPECIAL FUNDS:

- Attorney Admission (TOTAL $150.00) 085000 - $20.00 / 510000 - $130.00

- Certificate of Good Standing - Duplicate Certificate of Admission (TOTAL $15.00)
085000 - $5.00 / 510000 - $10.00

FILING FEES

- Civil Filing Fee (TOTAL $350.00) 086900 - $60.00 /086400 - $100.00 /510000 - $190.00

- Misc. Filings - Other Dist. Judg., Subpoena (TOTAL $39. 00)
086900 - $20.00 / 510000 - $19.00

- Writ of Habeas Corpus (TOTAL $5.00) 086900: - $5.00
- Appeals Filing Fee (TOTAL $455.00) 086900 - $105.00 /086400 ~ $200.00 /510000 - $150.00

- Misdemeanor (TOTAL $32.00) 086900 - $25.00 / 510000 $7.00

COPY FEES

- Copies from public terminal (.10 per page - # of pages ) 5114CR

- Copies (.50 per page - # of pages ) 322350

- Microfiche (TOTAL $5.00) 322350 - $3.00 / 510000 - $2.00

- Magnetic Tape Recordings (TOTAL $26.00) 322350 - $15.00 / 510000 - $11.00
MISCELLANEOUS ACCOUNTS

- Certification (# of Cert. ) (TOTAL $9.00 Each) 322360 - $5.00 / 510000 - $4.00

- Exemplification Certificate (TOTAL $18.00) 322360 - $10.00 / 510000 - $8.00

- Records Search (TOTAL $26.00 Each) (# of names ) 322360 - $15.00 / 510000 - $11.00

~ Record Retrieval - Records Ctr. (TOTAL $45.00 PREPAY) 322360 - $25.00 / 510000 - $20.00
- NSF Check (TOTAL $45.00) 322360 - $25.00 / 510000 - $20.00
Recovery of Costs - Jury Assessment 322380 c

FINES & MISCELLANEOUS ACCOUNTS
- Crime Victim Fund, Collateral Forfeitures (CVB), Assessment Fee, etc. 504100
~ Disciplinary Enforcement Fund ($15.00 Tri-annually, $5.00 PRO HAC VICE) 6855XxXX

ACCOUNTS RECEIVABLE
- Criminal Justice Act (ALL CJA Payments) (092300 - CJAPANL)

RECEIVED FROM (FIRM): causa Binyamu. , Did , (heume rs arSradr, LE

CASE NUMBER: SECTION: \V-

CASE TITLE: In (dp: oe Tailor tomal de hye Hoduts Uabet bg Lh edi

PAYMENT OF CES oo CASH CHECK x MONEY ORDER

SEAMAN PAUPER NON CASH

Civil Action Cases (for New Filings Only)
Designate form to be used by counsel to indicate the Category of the cause for purpose of assignment to the
appropriate Judge's calendar. PLACE AN (X) IN ONE CATEGORY ONLY.

1, Cases requiring immediate action 6. Habeas Corpus & Other Convictions
by the Court such as TRO, Injunction, Petitions Title 28 USC Sec. 2255
Orders to Show Cause, etc. 7. Petitions for Stay of Execution

2, Class Action Death Sentence

3. Antitrust 8. Social Security Case

4. Patent, Trademark, Copyright 9. All Others

S. Civil Rights Case

Is this a THREE JUDGE COURT? Yes No
Is this a RELATED CASE? Yes No Attorney of Record

